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                                                    11                               UNITED STATES DISTRICT COURT
                                                    12                                    DISTRICT OF NEVADA
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                                                    13
                                   (702) 833-1100




                                                    14 TRANSFIRST GROUP, INC. f/k/a                 Case No. 2:17-CV-00487-APG-VCF
                                                       TRANSFIRST HOLDINGS, INC.,
                                                    15 TRANSFIRST THIRD PARTY SALES LLC             MOTION TO WITHDRAW THE
                                                       f/k/a TRANSFIRST MERCHANT                    REFERENCE AND/OR LIFT THE JULY
                                                    16 SERVICES, INC., and PAYMENT                  31, 2018 STAY ORDER
                                                       RESOURCES INTERNATIONAL, LLC,
                                                    17
                                                                       Plaintiffs,
                                                    18
                                                               v.
                                                    19
                                                       DOMINIC J. MAGLIARDITI; FRANCINE
                                                    20 MAGLIARDITI; in her individually capacity,
                                                       and as trustee of FRM TRUST, DJM
                                                    21 IRREVOCABLE TRUST, and the FANE
                                                       TRUST; ATM ENTERPRISES, LLC; DII
                                                    22 CAPITAL, INC.; DFM HOLDINGS, LTD;
                                                       DFM HOLDINGS, LP; DII PROPERTIES
                                                    23 LLC; MAGLIARDITI, LTD.;
                                                       CHAZZLIVE.COM, LLC; and SPARTAN
                                                    24 PAYMENT SOLUTIONS, LLC.,

                                                    25                 Defendants.

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                                                     1          TransFirst Group, Inc. f/k/a TransFirst Holdings, Inc., TransFirst Third Party Sales LLC

                                                     2 f/k/a TransFirst Merchant Services, Inc., and Payment Resources Internal, LLC, as Plaintiffs and

                                                     3 assignees of the Chapter 7 Trustee (collectively, “TransFirst”), respectfully request that the Court

                                                     4 withdraw the reference of this case to the Bankruptcy Court and/or lift the stay imposed in this

                                                     5 Court’s July 31, 2018 order.

                                                     6                                              SUMMARY

                                                     7          This case arises from a long-running dispute between TransFirst and Dominic J. Magliarditi,

                                                     8 which began when TransFirst sued Magliarditi in 2006 and culminated in a $4 million judgment

                                                     9 against Magliarditi for fraud and violations of the RICO statute. After more than four years of
                                                    10 successfully hiding assets from TransFirst, Magliarditi’s scheme was in jeopardy following this

                                                    11 Court’s entry of an asset-freezing preliminary injunction. With his scheme nearing an end and a

                                                    12 contempt proceeding against his wife pending, Magliarditi filed for bankruptcy in an effort to block
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                                                    13 TransFirst’s legitimate collection efforts. In light of Magliarditi’s bankruptcy filing, the Court
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                                                    14 entered an order staying this action and the contempt proceeding on July 31, 2018.

                                                    15          Effective September 10, 2019, TransFirst purchased all of the claims, rights, and causes of
                                                    16 action held by the Trustee as representative of Magliarditi’s bankruptcy estate—including the claims

                                                    17 pending in this case. As the holder of these claims once again, TransFirst seeks to lift the July 31,

                                                    18 2018 stay and continue litigating this case. To the extent necessary to proceed with this case,

                                                    19 TransFirst also requests that the Court withdraw the reference of these claims to the Bankruptcy

                                                    20 Court.

                                                    21                                             ARGUMENT
                                                    22          TransFirst, as the owner of the claims of Magliarditi’s bankruptcy estate, seeks to proceed
                                                    23 with its claims for fraudulent conveyance and alter ego. To allow these claims to proceed, TransFirst

                                                    24 requests that the Court lift the stay imposed by its July 31, 2018 order. In addition, TransFirst

                                                    25 requests that this Court withdraw the reference of these claims to the Bankruptcy Court, if necessary,

                                                    26 to proceed before this Court.

                                                    27          ///
                                                    28          ///


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                                                     2          1.      The Court should lift its stay order to allow this case to proceed.

                                                     3          The Court’s July 31, 2018 order temporarily stayed this case due to Magliarditi’s bankruptcy

                                                     4 filing. (ECF No. 233.) On August 24, 2018, TransFirst, Defendants, and the Chapter 7 Trustee filed

                                                     5 a stipulation that the claims asserted in this case are the property of Magliarditi’s bankruptcy estate

                                                     6 and are “held and controlled by the Chapter 7 Trustee.” (Id.) On September 10, 2019, the Bankruptcy

                                                     7 Court entered its Order Granting Trustee’s Motion to Sell Causes of Action Free and Clear of All

                                                     8 Claims, Encumbrances, and Interests and Hold Auction at Time of Hearing. (Ex. 1.) This order

                                                     9 approved the sale of the following assets to TransFirst:
                                                    10          1)      Any and all claims, rights, and causes of action held by the Trustee as representative
                                                                        of the Debtor’s bankruptcy estate under 11 U.S.C. § 541, including without limitation
                                                    11                  the [causes of action pending in this case] and proceeds, including without limitation
                                                                        proceeds from the sale of the real property located at 954 Rembrandt Drive, Laguna
                                                    12                  Beach, California.
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                                                    13          2)      Any and all claims, rights, and causes of action held by the Trustee as representative
                                                                        of the Debtor’s bankruptcy estate including without limitation those set forth under
                                   (702) 833-1100




                                                    14                  11 U.S.C. §§ 544, 546, 547, 548, 549, and 550 and any proceeds.
                                                    15 (Id.)

                                                    16          As the holder of the claims pending in this Court, TransFirst seeks to continue litigating the
                                                    17 claims. As further explained below, it is most efficient for the pending claims to be litigated in this

                                                    18 Court due to the Court’s familiarity with the facts. TransFirst therefore requests that the Court lift

                                                    19 its July 31, 2018 stay order to allow this case to move forward.

                                                    20          2.      If necessary, the Court should withdraw the reference to the Bankruptcy Court.
                                                    21          The Court stayed this case in connection with Magliarditi’s bankruptcy filing but denied
                                                    22 Magliarditi’s motion to transfer the case to the Bankruptcy Court. (ECF No. 247.) Because this

                                                    23 action was never referred to the Bankruptcy Court, TransFirst believes that the Court has the

                                                    24 authority to lift its stay order and move forward with this case without withdrawing the reference.

                                                    25 Nevertheless, out of an abundance of caution, TransFirst moves for the Court to withdraw the

                                                    26 reference to the Bankruptcy Court if necessary.

                                                    27          The Bankruptcy Code provides that the district court may withdraw the reference “for cause
                                                    28 shown.” 28 U.S.C. § 157(d). “In determining whether cause exists, a district court should consider


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                                                     1 the efficient use of judicial resources, delay and costs to the parties, uniformity of bankruptcy

                                                     2 administration, the prevention of forum shopping, and other related factors.” Sec. Farms v. Int’l

                                                     3 Brotherhood of Teamsters, Chauffers, Warehousemen & Helpers, 124 F.3d 999, 1008 (9th Cir.

                                                     4 1997). These factors weigh in favor of withdrawing the reference here.

                                                     5          First, judicial efficiency and preventing delay and cost to the parties counsel in favor of

                                                     6 keeping this case in the court where it has been pending for more than two years. This Court has

                                                     7 presided over extensive briefing and hearings, including a preliminary injunction hearing that

                                                     8 involved the merits of the pending claims, motions to dismiss filed by the defendants, and contempt

                                                     9 proceedings. Given this Court’s familiarity with the pending claims, judicial efficiency is promoted
                                                    10 by keeping the case in this Court. See, e.g., Randazza v. Cox, No. 2:12–cv–02040–JAD–PAL, 2016

                                                    11 WL 10803752, at *4 (D. Nev. Dec. 2, 2016) (denying motion to refer certain claims to bankruptcy

                                                    12 court and noting, “I have already ruled on a summary judgment motion as to the Randazzas’ claims
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                                                    13 and, thus, I am more familiar with those claims”); Certain Underwriters at Lloyds, London v. Inlet
                                   (702) 833-1100




                                                    14 Fisheries, Inc., No. A04–58 CIV (JWS), 2004 WL 3362500, at *2 (D. Alaska Sept. 17, 2004) (“This

                                                    15 court has already issued its pretrial orders, entered rulings on motions, has pending before it motions

                                                    16 that are ripe for decision, and is generally already familiar with the legal and factual issues presented;

                                                    17 these efforts would have to be duplicated by the bankruptcy court if the matter were transferred to

                                                    18 it.”). Moreover, the fact that only the district court can enter final judgment on the fraudulent

                                                    19 conveyance claims further establishes the efficiency of maintaining this case in this Court. Sec.

                                                    20 Farms, 124 F.3d 1008–09; accord In re Watt, Adv. Proc. No. 15–03073–rld, 2016 WL 7912903, at

                                                    21 *2 (D. Oregon Sept. 2, 2016) (holding that withdrawal of the reference was appropriate where claims

                                                    22 in adversary proceeding were similar to claims “already pending in district court” and would have

                                                    23 to be ultimately adjudicated by the district court); Shengdatech Liquidating Trust v. Hansen,

                                                    24 Barnett, & Maxwell, P.C., No. 3:13–CV–00563–RCJ, 2013 WL 6408518, at *2 (D. Nev. Nov. 26,

                                                    25 2013) (finding that “judicial efficiency weighs in favor of withdrawal to this Court since the District

                                                    26 Court would have to review all dispositive recommendations as to non-core issues de novo,”

                                                    27 potentially including “the fraudulent transfer claim”).

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                                                     1          Second, the uniformity of bankruptcy administration is not implicated because the claims

                                                     2 pending in this action concern issues of state law. See Randazza, 2016 WL 10803752, at *4 (“[T]he

                                                     3 Randazzas’ claims do not touch on bankruptcy law, so referring them to the bankruptcy court will

                                                     4 not promote uniformity of bankruptcy administration.”).

                                                     5          Finally, the prevention of forum shopping counsels strongly in favor of keeping this case in

                                                     6 this Court. This Court has issued several rulings against the Magliarditis, including an asset-freezing

                                                     7 injunction and multiple findings of contempt. Magliarditi filed his bankruptcy petition right after

                                                     8 TransFirst had brought several improper transfers to the Court’s attention and just before the Court

                                                     9 was schedule to hold a contempt hearing. Magliarditi also previously sought to transfer this case to
                                                    10 the Bankruptcy Court, which this Court rejected, in part due to the appearance of forum shopping.

                                                    11 (See ECF No. 247 (“[T]here is some evidence of forum shopping by the defendants. I had entered a

                                                    12 preliminary injunction against the defendants and was in the process of adjudicating contempt
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                                                    13 proceedings against Dominic Magliarditi’s wife, defendant Francine Magliarditi, when Dominic
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                                                    14 filed for bankruptcy.”).) TransFirst intends to continue pursuing the contempt proceedings that were

                                                    15 previously before the Court and the claims on which the Preliminary Injunction is based. In the

                                                    16 interest of preventing forum shopping and maximizing efficiency, this Court should continue

                                                    17 hearing and deciding these issues.

                                                    18                                            CONCLUSION
                                                    19          TransFirst, as the holder of the claims pending in this case, seeks to move forward with its
                                                    20 claims. Accordingly, TransFirst respectfully requests that the Court lift its July 31, 2018 stay and,

                                                    21 if necessary, withdraw the reference from the Bankruptcy Court.

                                                    22 DATED: October 15, 2019                     KING & DURHAM PLLC

                                                    23
                                                                                                   By            /s/ Matthew L. Durham
                                                    24
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